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                                                                  Clerk, U.S. District Court, ILCD

             IN THE UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF ILLINOIS
                     SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
     Plaintiff,                           )
                                          )
     v.                                   )      No. 22-cr-30081
                                          )
EDDIE D. SIMS,                            )
                                          )
     Defendant.                           )

                         OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge.

     This matter comes before the Court on Defendant Eddie D.

Sims’s Motion to Revoke Detention Order. See Def.’s Mot., d/e 17.

For the reasons that follow, the motion is DENIED.

                            I. BACKGROUND

     On December 6, 2022, a grand jury indicted Mr. Sims on two

firearms charges. See Indictment, d/e 1. Count I alleges that Mr.

Sims transferred a .22-caliber semiautomatic handgun to Darius

Buerkett, a prohibited person, in violation of 18 U.S.C. § 922(d)(1).

Id. at 1. Count II alleges that Mr. Sims aided and abetted Mr.

Buerkett’s unlawful possession of that firearm, in violation of 18

U.S.C. § 2 and 18 U.S.C. § 922(g)(1). Id. at 2.


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     Mr. Sims was arrested on January 16, 2023. Two days later,

Mr. Sims appeared before U.S. Magistrate Judge Karen L.

McNaught for arraignment. On the Government’s oral motion, the

Magistrate set a detention hearing for January 20. Before one

could be held, however, Mr. Sims orally moved to vacate the

hearing, arguing that neither of his alleged offenses qualified him

for pretrial detention. The Government responded that two

provisions of the Bail Reform Act—18 U.S.C. §§ 3142(f)(1)(E) and

(f)(2)(B)—independently authorized Mr. Sims’s detention. The

Magistrate agreed in part, finding that § 3142(f)(1)(E) covered Mr.

Sims’s alleged offenses. Mr. Sims thereafter moved for and received

a five-day continuance.

     In the interim, the Government filed a supplemental motion

for detention. Gov.’s Supp. Mot. for Detention, d/e 12. The

Government argued that both 18 U.S.C. §§ 3142(f)(1)(E) and (f)(2)(A)

authorized Mr. Sims’s pretrial detention. -
                                          See id.
                                            --- - at 2. As to §

3142(f)(1)(E), the Government contended that each of Mr. Sims’s

charges “unquestionably . . . involve the possession or use of a

firearm,” since Mr. Sims “had to have possessed the firearm in

question to be able to have transferred it.” Id. (citing 18 U.S.C. §


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3142(f)(1)(E)). The Government also argued, though in passing and

without citation, that Mr. Sims posed a “serious risk” of flight and

so warranted a detention hearing under § 3142(f)(2)(A). Id. at 3.;

see also id. at 6 (“As it relates to risk of flight, the government will

stand on what is contained in the PTSR [Pretrial Services Report].”).

     The detention hearing resumed on January 25. Beforehand,

Mr. Sims moved the Magistrate to reconsider her decision to allow

the Government to seek detention. The Magistrate denied that

motion. Instead, the Magistrate concluded that 18 U.S.C. §

3142(f)(1)(E) applied in Mr. Sims’s case and allowed the detention

hearing to proceed.

     Mr. Sims first argued that his sister, Louise Archer, would

make a suitable third-party custodian. The Probation Office

reached the same conclusion, though it still recommended Mr.

Sims’s detention. See d/e 13 at 3–4. Ms. Archer testified that Mr.

Sims was welcome to live with her and her girlfriend in their

Decatur home during his pretrial release. Ms. Archer further

testified that she was willing to transport Mr. Sims and to secure

him a job at Caterpillar’s Decatur plant. In addition to this change

in residence, Mr. Sims proposed several other conditions of release,


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including home detention with electronic monitoring, mandatory

anger-management therapy, and limiting any visits with his partner

“to times when [Ms. Archer’s home] is supervised by the third-party

custodian.” Def.’s Mot., d/e 17, at 7.

     The Government persisted in its request. Pointing to the

report filed by Mr. Sims’s arresting officer, the Government urged

the Magistrate to find that Mr. Sims’s case was not “a simple

possession of a firearm by a felon.” Tr., d/e 15, at 19:13–14.

Instead, the Government reasoned, the arresting officer rightly

concluded that “Darius [Buerkett] and Eddie were walking around

with a loaded gun and extra ammunition looking for an opportunity

to use it to shoot at whoever thought [Mr. Buerkett] stole their car.”

Id. at 19:25–20:4. The Government also contended that “[i]t was

totally speculative if [Mr. Sims] could get a job at Caterpillar.” Id. at

18:18–19; see also id. at 18:19–22 (“And I would also submit if it

was so easy for him to get and obtain a job, there’s no reasons [sic]

that he shouldn’t be employed already.”).

     The Magistrate ultimately granted the Government’s motion

for detention. Although the record of the hearing is incomplete—a

technical issue of some kind prevented the last few minutes from


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being captured—the Magistrate closely considered Mr. Sims’s

proffered evidence. But the Magistrate also expressed concern

“about the potential danger to the community if [Mr. Sims was]

released.” Id. at 33:7–8. And the Magistrate appeared especially

concerned for the purported target of Mr. Sims’s activity on the

night of his arrest. Id. at 34:14–16 (“-- reasonably be assured that

whoever that is, is still safe. And so for that reason, Mr. Sims, I will

order that you be detained.”). On February 3, 2023, the Magistrate

filed an Order of Detention memorializing her January 25 oral

order. Order, d/e 16.

     This appeal followed.

                           II. DISCUSSION

     After a magistrate judge has ordered a criminal defendant

detained before trial, the defendant may file “a motion for revocation

or amendment to the order” with “the court having original

jurisdiction over the offense.” 18 U.S.C. § 3145(b). Any such

motion “shall be determined promptly.” Id. This Court reviews the

magistrate judge’s detention order—including any evidence adduced

at a detention hearing—de novo. See United States v. Wilks, 15 F.

4th 842, 847 (7th Cir. 2021).


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     Mr. Sims now avails himself of this avenue for review. See

Def.’s Mot., d/e 17. He argues that the Magistrate “committed

reversible legal error . . . in three respects.” Id. at 1–2. The Court

considers each in turn.

     As a threshold matter, Mr. Sims contends that the Magistrate

was wrong to hold a detention hearing in the first place. There is

little in Mr. Sims’s record to support his detention as a flight risk,

so the only enabling statutory provision would be § 3142(f)(1)(E). As

noted above, § 3142(f)(1)(E) requires—though only on the

Government’s motion—a detention hearing in any case involving

“any felony . . . not otherwise a crime of violence that involves . . .

the possession or use of a firearm or destructive device.” 18 U.S.C.

§ 3142(f)(1)(E). Here, Count I charges Mr. Sims with giving a gun to

Mr. Buerkett, who previously had been convicted of a felony. See

Indictment, d/e 1, at 1. The statute underlying Count I prohibits

individuals from “sell[ing] or otherwise dispos[ing] of any firearm or

ammunition to any person knowing or having reasonable cause to

believe that such person, including as a juvenile, . . . has been

convicted in any court of, a crime punishable by imprisonment for a

term exceeding one year.” 18 U.S.C. § 922(d)(1). Similarly, Count II


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charges Mr. Sims with aiding and abetting Mr. Buerkett’s unlawful

possession of a firearm. See Indictment, d/e 1, at 2 (citing 18

U.S.C. §§ 2 and 922(g)(1)).

     Mr. Sims contends that a detention hearing was unwarranted

because “possession of a firearm is not an element of either of Mr.

Sims’ charged offenses.” Id. at 2. Essentially, Mr. Sims disputes

that disposing of a firearm necessarily entails possessing a firearm.

The Court disagrees. Possession, of course, “may be either actual

or constructive.” United States v. Kitchen, 57 F.3d 516, 520 (7th

Cir. 1995). In either case, a defendant can be said to have

possessed contraband if he had “the authority or the ability to

exercise control over the contraband.” Id. at 523 (characterizing

this factor as “the essential proof of possession”). As a matter of

common sense, Mr. Sims could not have given Mr. Buerkett the

firearm as alleged without first possessing it. Nor could Mr. Sims

aid or abet Mr. Buerkett’s possession of the firearm without sharing

in Mr. Buerkett’s liability for possessing the firearm. Mr. Sims’s

alleged offenses, therefore, satisfy the possession element set forth

in § 3142(f)(1)(E). This means that the Magistrate rightly held a

detention hearing.


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     But the question remains whether the Magistrate rightly

detained Mr. Sims. Mr. Sims offers two reasons to find that his

detention was improper. First, according to Mr. Sims, the

Magistrate “inverted the burden of proof, improperly holding the

government to a lighter standard than the law requires.” Def.’s

Mot., d/e 17, at 2. Mr. Sims is correct. The Government must

prove that a criminal defendant warrants detention as a risk to

public safety by clear and convincing evidence. United States v.

Salerno, 481 U.S. 739, 750–51 (1987). Here, however, the

Magistrate substituted the following standard: “It is also the

government’s burden to prove, but by a preponderance of the

evidence, that there are no conditions or combination of conditions

that will reasonably assure the safety of the community or someone

within that community.” Tr., d/e 15, at 28:22–29:2 (emphasis

added). That was error. But the Court must be convinced not that

the Magistrate applied an improper standard, but that the

Government did not meet the requisite burden of proof.

     Under the Bail Reform Act, pretrial detention is appropriate

only if the Court “finds that no condition or combination of

conditions will reasonably assure the appearance of the person as


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required and the safety of any other person and the community.”

18 U.S.C. § 3142(e)(1). In reaching this determination, the Court

must weigh the factors set forth at 18 U.S.C. § 3142(g), including:

     1) The “nature and circumstances of the offense charged,
        including whether the offense . . . involves a minor victim”;
     2) The “weight of the evidence against the person”;
     3) The “history and characteristics of the person, including . . .
        the person’s character, physical and mental condition, [and]
        family ties”; and
     4) The “nature and seriousness of the danger to any person or
        the community that would be posed by the person’s
        release.”

See id. As noted above, the Government bears the burden of

proving, by clear and convincing evidence, that its interest in

protecting the public safety warrants pretrial detention. Salerno,

481 U.S. at 750–51.

     The Court begins its de novo review with the “nature and

circumstances of the offense charged” and the “weight of the

evidence” against Mr. Sims. Mr. Sims is charged with giving Mr.

Buerkett a gun despite knowing that Mr. Buerkett had been

convicted of a felony. The Magistrate received and reviewed only

one piece of evidence relevant to the charged offenses: a police

report documenting the arrest of the two men. The report is highly

persuasive evidence of Mr. Sims’s liability. The report reflects that:


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     • Around 10:30 p.m. on May 13, 2022, Springfield police
       officers observed Mr. Sims and Mr. Buerkett crossing a
       busy roadway without using the crosswalk.
     • The officers quickly located a firearm tucked into Mr.
       Buerkett’s waistband.
     • Shortly thereafter, Mr. Sims told the officers that the gun
       belonged to him. Mr. Sims then provided the officers with
       his Firearms Owner Identification (FOID) card. Mr. Sims
       also showed the officers that he was carrying several
       magazines of ammunition in a crossbody bag.
     • After being advised of and waiving his Miranda rights, Mr.
       Sims told the officers that someone recently had posted a
       video of a car theft to Facebook. The poster claimed that
       Mr. Buerkett had stolen the car in question and threatened
       Mr. Buerkett with retribution. At some point that evening,
       Mr. Sims gave Mr. Buerkett his gun.
     • One of the officers then asked Mr. Sims “why he didn’t just
       hold the gun since it was his.” See Gov.’s Resp. ex. A, d/e
       18-1, at 5. Mr. Sims “said he was going to let Darius
       [Buerkett] ‘take care of his business.’” Id.
     • “It seemed clear” to the reporting officer “that Darius
       [Buerkett] and Eddie were walking around with a loaded
       gun and extra ammunition looking for an opportunity to
       use it to shoot at whoever thought [Mr. Buerkett] stole their
       car.” Id.

     What the Magistrate did not have, however, was the footage

taken from the arresting officers’ bodycams, which the Government

later provided pursuant to a Court order. This footage diverges

from the officers’ report in several respects. In fact, the footage

largely corroborates Mr. Sims’s interpretation of his arrest.

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     Yet the footage does not change either the “nature” or the

“circumstances of the offense charged.” The Indictment alleges that

Mr. Sims gave a loaded gun to someone whose criminal history

disentitled him to possess a firearm. Federal law makes such

conduct unlawful for a reason: gun possession by those previously

convicted of felony offenses poses a profound danger to the public

safety. Although “most felons are nonviolent,” decades of social-

science research have demonstrated that “someone with a felony

conviction on his record is more likely than a nonfelon to engage in

illegal and violent gun use.” United States v. Yancey, 621 F.3d 681,

685 (7th Cir. 2010). “[E]ven handgun purchasers with only 1 prior

misdemeanor conviction and no convictions for offenses involving

firearms or violence [are] nearly 5 times as likely as those with no

prior criminal history to be charged with new offenses involving

firearms or violence.” Kanter v. Barr, 919 F.3d 437, 449 (7th Cir.

2019), abrogated by New York State Rifle & Pistol Ass'n, Inc. v.

Bruen, 142 S. Ct. 2111 (2022) (citation omitted). It hardly can be

said, therefore, that the “nature and circumstances of the offense

charged” weigh in favor of Mr. Sims’s release.




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     The record also provides strong evidence of Mr. Sims’s

culpability. Cf. 18 U.S.C. § 3142(g)(2). The bodycam videos show

the arresting officers recovering a firearm from Mr. Buerkett’s

waistband. The same videos capture Mr. Sims admitting (1) that he

gave the firearm to Mr. Buerkett and (2) that he knew of Mr.

Buerkett’s previous theft conviction and his parole status. A

reasonable jury could find against Mr. Sims based on this evidence

alone. See 18 U.S.C. § 922(d)(1) (elements).

     Mr. Sims’s “history and characteristics,” too, weigh against his

release. Cf. 18 U.S.C. § 3142(g)(3). Although Mr. Sims’s criminal

convictions are confined to juvenile dispositions, his record as an

adult—as the Government has argued—provides cause for grave

concern. This record includes a slew of domestic-battery arrests

and orders of protection entered against Mr. Sims. Moreover, just

before he was arrested in this cause, Mr. Sims was involved in a

disturbance in which he kicked down another family’s door.

Combining an “anger-management problem” with firearms, as

Government counsel argued at Mr. Sims’s detention hearing, can

create “a very combustible situation.” See Tr., d/e 15, at 21:9–13.

Given these considerations, the Court cannot find that even the


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strictest conditions will ameliorate the risk Mr. Sims poses to the

community. Mr. Sims must remain in pretrial detention.

                          III. CONCLUSION

     For these reasons, Defendant Eddie D. Sims’s Motion to

Revoke Detention Order (d/e 17) is DENIED.

IT IS SO ORDERED.

ENTERED: MARCH 24, 2023

FOR THE COURT:
                           s/ Sue E. Myerscough
                           SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE




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